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                                   STATEMENT OF FACTS

        Your affiant, Mark A. Thomas is a Special Agent assigned to the Federal Bureau of
Investigation (FBI). In my duties as a special agent, I am assigned to the FBI’s Miami Field Office,
West Palm Beach Resident Agency. I am currently assigned to the Joint Terrorism Task Force.
Currently, I am a tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 14, 2021, the FBI received information that Defendant Jody Lynn
Tagaris posted a Facebook post, using username “Jody Echevarria-Tagaris”, indicating that she
entered the U.S. Capitol. The photo depicts a woman wearing a red Make America Great Again
hat, an American Flag scarf, blue jeans, and a unique U.S. Olympics American flag jacket while
masked posing in a frame of a broken window next to the Senate Wing Door at the US Capital
with the caption, “The Capital. . . .back at hotel safe! Got tear gassed but okay!”.




         The FBI identified a co-worker of Tagaris, who requested their identity be protected. This
co-worker advised the Facebook account belonged to Tagaris and that it was Tagaris in the photo.
The co-worker also advised Tagaris is known at work as Jody Echevarria–Tagaris. In addition to
the information provided by Tagaris’s co-worker, the FBI received information that an anonymous
tipster provided the same photo to the Washington Metropolitan Police Department and identified

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the masked woman in the picture as Tagaris. In conjunction with the masked photo, the tipster also
provided another Facebook photo of Tagaris wearing the same American flag jacket while showing
her face uncovered. The tipster identified the person in the photos as Jody (Tagaris) and identified
where Tagaris was employed.




       The FBI obtained a search warrant to search the aforementioned Facebook account. A
review of the account reveals an unmasked photo of Tagaris, posted on January 6, 2021, wearing
the same jacket, scarf, blue jeans, and hat that she was seen wearing at the U.S. Capitol. The FBI
also found statements in the Facebook account made by Tagaris that she was traveling to
Washington, D.C. on or about January 5, on a 6:00 p.m. flight to attend President Trump’s rally
and that she would be making posts to let everyone know that she was ok. Tagaris also made a
post on January 6, 2021 about arriving safely and staying at the Holiday Inn Washington Capitol
- National Mall.




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        The FBI also obtained U.S. Capitol surveillance video
evidence from the U.S. Capitol on the day in question. The
surveillance video shows the woman in the American flag jacket
enter the U.S. Capitol through a broken window near the Senate
Wing Door. The woman remained in the Senate Wing Door lobby
area for a period of time where she took pictures and engaged with
U.S. Capitol Police Officers. The woman in the American flag
jacket lowered her mask, displaying a face that matches Targaris.
Tagaris eventually heads down a hallway and goes left into Senate
Breakout Room S139. The FBI obtained video footage from a
third party which captures Tagaris in Senate Breakout Room
S139. In this room, Tagaris is captured walking around and sitting
at a conference table. Tagaris remains in the breakout room until
Washington Metropolitan Police arrive at the location where
people are forced to vacate the Capitol. At this time, U.S. Capitol
surveillance video shows Tagaris exit the breakout room and
eventually exit through the Senate Wing Door.




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       Tagaris is also captured by a Washington Metropolitan Police Officer’s body camera after
she was expelled from the U.S. Capitol. Tagaris is seen in the video wearing the same unique U.S.
Olympics American Flag jacket and Make America Great Again red hat that was worn by the
Defendant while inside the U.S. Capitol.




       During the course of its investigation, the FBI identified Verizon mobile phone number
561-722-xxxx as being used by Tagaris. In her Facebook account details, Tagaris lists 561-722-
xxxx as her phone number. In addition, the undersigned left a voicemail for Jody Tagaris by calling
the 561-722-xxxx on or about February 17, 2021, asking Jody Tagaris to please return the


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undersigned’s call. On or about February 18, 2021, a woman returned the undersigned’s phone
call and identified herself as Jody Tagaris.

        The FBI obtained a search warrant for subscriber and cell-site location data for Verizon
phone number 561-722-xxxx for the date range November 3, 2020-March 23, 2021. The search
warrant results reveal that Tagaris is the listed subscriber for phone number 561-722-xxxx and has
been since September 19, 2017. A review of the cell-site location data for January 6, 2021 reveals
that the phone was located in multiple locations that is consistent with Tagaris being present in
and around the U.S. Capitol.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jody Lynn Tagaris violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official function or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Jody Lynn Tagaris violated
40 U.S.C. § 5104(e)(2)(C) and (D), which makes it a crime to willfully and knowingly: (C) with
the intent to disrupt the orderly conduct of official business, enter or remain in a room in any of
the Capitol Buildings set aside or designated for the use of— (i) either House of Congress or a
Member, committee, officer, or employee of Congress, or either House of Congress; and (D)
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress.




                                                      _________________________________
                                                      MARK A. THOMAS
                                                      Federal Bureau of Investigation (FBI)

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this __14th___ day of May 2021.                             2021.05.14
                                                                        17:28:24 -04'00'
                                                      ___________________________________
                                                      ZIA FARUQUI
                                                      U.S. MAGISTRATE JUDGE

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